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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,
                                                             Case No. 07-CR-20119
vs.                                                          HON. GEORGE CARAM STEEH

JASON MANNING - (D-6),

                Defendant.
_____________________________/

             ORDER DENYING MOTION FOR RECONSIDERATION (#92)

       Defendant Jason Manning moves for reconsideration of this court's August 14, 2007

Order affirming an August 8, 2007 revocation of bond. A motion for reconsideration must

be filed within 10 days after entry of the challenged order. E.D. Mich. LR 7.1(g)(1). In

seeking reconsideration, the movant must demonstrate a palpable defect by which the

court and the parties have been mislead, and show that correcting the defect will result in

a different disposition of the case. E.D. Mich. LR 7.1(g)(3). Manning's October 31, 2007

motion for reconsideration of this court's August 14, 2007 decision is untimely. E.D. Mich.

LR 7.1(g)(1). Manning has also failed to demonstrate palpable error. Accordingly,

       Manning's motion for reconsideration is hereby DENIED.

       SO ORDERED.

Dated: November 1, 2007

                                            s/George Caram Steeh
                                            GEORGE CARAM STEEH
                                            UNITED STATES DISTRICT JUDGE


                                  CERTIFICATE OF SERVICE

                   Copies of this Order were served upon attorneys of record on
                      November 1, 2007, by electronic and/or ordinary mail.

                                      s/Josephine Chaffee
                                          Deputy Clerk
